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United States District Court

Southern District Of Texas
UNITED STATES DISTRICT COURT ppp 19 2019

AO 91 (Rev. 11/11) Criminal Complaint

 

 

 

for the
Southern District of Texas David J. Bradley, Clerk
United States of America )
* mM - |[9-080s-
Raymond Allen PIERCY Case No.
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 11, 2019 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21 USC 841 (a)(1) Knowingly and Intentionally Possess with Intent to Distribute a Controlled

Substance, that is Approximately 7.85 Kilograms of Heroin, a Schedule |
Controlled Substance Under the Controlled Substances Act

This criminal complaint is based on these facts:

See Attachment

@ Continued on the attached sheet.

, COfpplainane’s signature

Special Agent Ashley Brazelton, DEA

Printed name and title

 

Sworn to before me and signed in my presence.

Date: 04/12/2019 i ——

Yee 's signature
City and state: McAllen, Texas agistrats Judge J. Scott Hacker

Printed name and title

 
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ATTACHMENT

On or about April 1, 2019, DEA agents in the McAllen District Office (MDO) agents received
information from DEA agents in Laredo, Texas regarding a subject transporting narcotics in the
McAllen, Texas area. In addition to the information received from agents in Laredo, DEA agents
worked with other federal law enforcement agencies in the McAllen area and through their
investigative efforts were able to corroborate information obtained from a source of information.
On April 10, 2019, DEA agents established surveillance in the vicinity of 11" Street and Savannah
Avenue in McAllen, Texas. On April 11, 2019, with the assistance of Pharr Police Department,
DEA agents located a white, 2008 Ford F-250 bearing Alabama license plates 2AM4410,
registered to Raymond Allen PIERCY. Pharr Police Officer Joshua Ybarra observed a white male
subject driving the F-250, later identified as PIERCY, fail to signal to turn at the intersection of
11 Street and East Frontage Road in McAllen, Texas.

Shortly thereafter, Officer Ybarra initiated a traffic stop on PIERCY as PIERCY turned in to the
Kmart parking lot located at 1801 South 10™ Street, McAllen, Texas. As Officer Ybarra exited
his vehicle to approach PIERCY, PIERCY simultaneously exited the F-250 with his license in
hand asking Officer Ybarra what was wrong. Officer Ybarra instructed PIERCY to get back in
the vehicle for his safety and PIERCY complied.

While speaking with PIERCY, Officer Ybarra asked PIERCY for consent to search the F-250 and
utilize his narcotics K-9 “Logan”. PIERCY granted Officer Ybarra consent to search his vehicle.
Upon the search, K-9 Logan gave a positive indication for the presence of narcotic odor within the
F-250. PIERCY was subsequently detained and the F-250 was transported to the DEA McAllen
District Office. K-9 Logan was deployed a second time and alerted the presence of narcotics
emitting from a multi-colored bag that was located inside PIERCY’s F-250. Upon search of the
bag, agents located a folded wooden chess board, with chess pieces, wrapped in clear cellophane.

Agents drilled approximately a 1/8" inch hole in to the chess board and extracted a white, powdery
substance from inside the boards. A preliminary field test was conducted using a sample of the
white, powdery substance which yielded a positive indication for the presence of heroin. The
chess board and suspected heroin weighed approximately 7.85 kilograms.

PIERCY was subsequently placed under arrest, Mirandized in his preferred language of English
but invoked his Miranda Rights to have a lawyer present.
